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    6 AttorneysforChapter 11Debtor
    7 and Debtorin Possession

    8
    9                       UNITED STATES BANKRUPTCY COURT
   10                        CENTRAL DISTRICT OF CALIFORM A
   11                         SAN FERNANDO VALLEY DIVISION

   12                                            )CaseNo :l:20-bk-l1006-V K
                                                          .


   13                                            )
         lnre:                                   )Chapterl1Case
   14                                            )SubchapterV
         LEV INVESTM ENTS,LLC,                   )
   15                                            )
   16            DebtorandDebtorin Possession.   )DEBTOR'S           CHAPTER
                                                 )svsclu pl'ER v PLAN,
   l7                                            )A U G U ST 28,2020
                                                 )
    18                                           )Hearingonplanconfirmation:
                                                 )Date: gTobeseq
   l9                                            )Time:E'robeset)
   20                                            )place:courtroom t'301,-
                                                 )        21041BurbankBoulevard
   21                                            )        w oodlandHills,Califom ia91367
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     1                                   1.      IN TR O DU C TIO N

    2             Lev Investments, LLC (the 'tDebtor'
                                                    ') is the debtor and debtor in possession in the
    3 above-captioned chapter 11, subchapterV,bankruptcy case (the tçBanknmtcv Case''
                                                                                    )bearing
    4 case number 1:20-bk-11006-VK . The D ebtor tiled a voluntary petition under chapter 11 of 11
     5 U .S.C.jj 101etseq.(the '
                               tBankruptcy Code'')and elected subchapterV on June 1,2020(the
    6 'dpetition Date''). TheDebtorisoperatingitsbusiness,managing itsaffairs,and administering
    7 itsestate as adebtorin possession pursuantto sections 1182(2)and 1l84 ofthe Bankruptcy
     8 Code TheUnitedStatesTrustee(the'
              .                       EUST'')appointed CarolineR.DjangasthesubchapterV
     9 trustee(thetû-l-rustee'')pursuantto 11U.S.C.j 1183(a).
   10             Chapter 1l subchapterV allowsthe Debtor(and only the Debtor)to propose a plan.
    11 This Plan is a reorganization plan proposed by the Debtor. This docum ent is the Plan. It
    12 includes(i)abriefhistory ofthebusinessoperationsoftheDebtor;(ii)aliquidation analysis;
    13 and (iii)projectionswith respectto theabilityoftheDebtortomakepaymentsunderthePlan.
    14 Thisinfonuation isprovided to help you understand the Plan and to decide whetherto vote to
    15 acceptorrejectthePlanorotherwisefileobjections.
    16       TheeffectivedateofthePlan (theilEffectiveDate'')willbethetirstbusinessdayofthe
    17 first uarter whieh is at least fifteen days following the date of entry of the Courtorder
             q
    18
         confirming the Plan (the tiplan Contirmation Order'') and the satisfaction orwaiverby the
    19
         DebtorofallofthefollowingconditionstotheeffectivenessofthePlan:(a)thereshallnotbe
    20
         anystayin effectwithrespectto thePlan ContirmationOrder;(b)thePlan Confirmation Order
    21
    22 shallnotbesubjecttoany appealorrehearing;and (c)thePlan andal1doeuments,instruments
    23 and agreements to be executed in connection with the Plan shall have been executed and

    24 delivered by al1partiesto such docum ents, instrum entsand agreem ents. The Debtor,follow ing
    25 theEffectiveDate,shallbereferred to asthe ,kju organized Debtor''.



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    1                            II.    STATUTORY PLAN DISCLO SURES

    2         BankruptcyCodeSection l190(1)requiresthatasubchapter(V)planinclude:(i)abrief
    3 histoly ofthebusinessoperationsoftheDebtor;(ii)aliquidationanalysis;and(iii)projections
    4 with respecttotheabilityoftheDebtortomakepaymentsunderthePlan. 11'U.S.C.j 1190(1).
    5         A . B riefH istorv ofthe B usinessO perationsofthe D ebtor
    6         1      The Debtoris a hard m oney lenderwhose debts are secured by realproperties.
    7 W hen necessary, the D ebtor proceeds w ith foreclosures and sale of properties which serve as
    8 collateralforitsloans.
    9         2      The Debtor is the holder and beneficiary ofa deed oftrust'tthe tûcoachella
   10 Deed'')recorded againstrealproperty (vacantland)locatedinCoachella,CaliforniagAPN 697-
   11 330 002-4) (the '
          -           'Coachella Propertv''),which isowned by Coachella Vineyard Luxury RV
   12 park, LLC (tt
                  coachella Vinevard''). The Coachella Deed secures Coachella Vineyard's
   13 obligations to repay a loan provided by the Debtorin the principalsum of $2,000,000. The
   14 currentbalanceoftheloan securedbytheCoachellaProperty isin excessof$2,500,000.
   15         3      pre-petition, the D ebtor foreclosed on the Coachella Property. Learning thatthe
   16 tbreclosure by the foreclosure trustee was effectuated improperly, the Debtor rescinded its
   17 trustee's deed upon foreclosure and has renewed its foreclosure efforts. The Debtor believes
   18 that the Coachella Property has a value in excess of the debt owed to the Debtor and ths
   19 obligation willeitherberepaid in fullattheforeclosure sale orthe Debtorwillforeclose on the
   20 coachellaProperty and, thereafter,sellit.
   21         4      In addition to the Coachella Deed,the Debtor'sprim ary assetis the residential
   22 realproperty located at13854 AlbersStreet, Sherman Oaks,Califomia91401-5811(APN 2247-

   23 013-001j(thektAlberspropertv'').
   24         5      In December 2018, the Debtor, on the one hand, and Ruvin Feygenberg
   25 ('tyevaenberjf')and M ichaelLeizerovitz orhisassigneesSensible Consulting & M anagement,
   26 Lt-c ('
            't-eizerovitz,''andtogetherwith Feygenberg,thed'Lenders''),on the otherhand.entered
   27 into an agreement(the ''DebtPurchase Axreemenf')to purchase debtsecured by the Albers
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     1 Property,and then to proceed to foreclose on,and ultimately obtain ownership of,the Albers

    2 Property.
    3          6.     TheDebtPurchaseAgreem entcontemplated thattheDebtorwould contributethe
    4 sum of$1,022,500 and thatthe Lenderswould contribute the sum of$1,257,675 (ofwhich
     5 approximately $235,000 would beimmediately reftmdedtotheLenders),such thattheamounts
    6 contributed by the Debtorand the Lendersto purchase the debtsecured by the AlbersProperty
     7 would be equal.TheDebtorPurchaseAgreem entalso provided that,upon theforeclosureofthe
     8 Albers Property,title to the AlbzrsProperty would be vested solely in the Debtor'sname,and
     9 the Lenderswould hold a firstpriority security interestand lien againstthe Albers Property in
    10 the sum of $1,257,675. Notwithstanding the express tenus ofthe DebtPurchase Agreem ent,
    11 which required thattitleto the AlbersProperty be vested solely in the Debtor'snam e following
    12 foreclosure,the attorney handling the transaction for the Debtor and the Lenders,Yevgeniya
    13 ûtGina''Lisitsa,recorded aTrustDeed in thejointnamesoftheDebtorand the Lenders. ln an
    14 attem ptto correctthis enor,M s.Lisitsa then had the Lenders quitclaim their interest in the
    15 AlbersPropertyto theDebtor.
    16         7.     However,the Debtor leam ed that Feygenberg had an outstanding judgment
    17 which was subjectto a recorded AbstractofJudgmentin favor ofM ing Zhu,LLC (ûtM inM
    l8 Zhu'').BecausetitletotheAlbersPropertywas(enoneously)inthenameofFeygenberg,upon
    19 transfer of title to the Debtor, M ing Zhu has asserted a security interest in the amount of
    20 approximately $300,000. Since this is an obligation of Feygenberg and not the Debtor,this
    21 amountis in dispute and subject to pending litigation. The Debtor is also in settlement
    22 discussionswith M ing Zhu with respectto thetreatm entofitsasserted claim .
    23         8.     On October24,2019,an individualnamed Mariya Ayzenberg (ttAvzenberjf')
    24 filed a com plaintagainstthe Debtorand othersin the SuperiorCourtofthe State ofCalifornia
    25 forthe County ofLos Angeles(the ûtsuperiorCourt''lalleging tinancialabuse ofelder,and
    26 conversion and seeking declaratory relief,thereby com mencing the casetitled Ayzenberg v.Lcv
    27 Investments,LLC,etal.,CaseNumber195-1-CV38222(thetiAvzenbergAction'').
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    1        9.     On October 25, 2019, Ayzenberg recorded a notice of pendency of the

    2 Ayzenberg Action against the Albers Property,as lnstrument Number 20191150330 (the
    3 kçAyzenbem LisPendens'').
    4         10.   Thereafter, the parties to the Ayzenberg Adion entered into a settlem ent
    5 agreement, which provided for a full and final resolution of the parties' disputes and the

    6 dismissaloftheAyzenberg Action.
    7         11.   On January 13,2020,Ayzenberg tiled a RequestforDism issalofthe Ayzenberg

    8 Adion,withprejudice,asto a11parties.
    9         12.   Given thesettlem entreachedby the partiesto theAyzenbergAction,and thefu11
   10 consum mation of such settlement,the Debtor contends that Ayzenberg was required to take
   11 stepsto havetheAyzenberg LisPendensreleased orexpunged.
   12         13.    As ofthe Petition Date,the Ayzenberg Lis Pendensremained recorded against
   13 the Albers Property. M ultiple requests by the Debtor to Ayzenberg's counsel of record to

   14 releaseorexpungetheAyzenbergLisPendenswererejectedorignored.
   15         14.    Asaresult,on June l2,2020,theDebtortiled anoticeto rem ovetheAyzenberg
   16 Action in its entirety to this Court, thereby comm encing the adversary prpceeding titled
   17 Ayzenberg v.Lev Investlnents,LLC,etaI.,Adversary Proceeding Number 1:20-ap-01062-VK
   18 (theûûAyzenberxAdversarvAction''),solely forthepurposeoffilingamotion (ifnecessary)to
   19 expungetheAyzenbergLisPendens.
   20         15.    On July 9,2020,Ayzenberg and othersfiled a pleading in the Debtor'schapter
   21 11 bankruptey casel which, for the first tim e,retlected that a notice of withdrawalof the
   22 Ayzenberg Lis Pendens had been recorded on June 19, 2020, as lnstrum ent Number
   23 20200673430(theitW ithdrawalofAyzenberx LisPendens''). Priorto seeing such pleading on
   24 July 9,2020,neitherthe Debtornoritscounselwasaware ofthe filing and recordation ofthe
   25 W ithdrawalofAyzenberg LisPendens,since no notice was everprovided by Ayzenberg,her
   26 counsel,orany otherparty,notwithstanding repeatedrequestsbytheDebtor.

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           1See,Doc.N o.92.


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    1        16.    Afterreceiving notice ofthe W ithdrawalofAyzenberg LisPendens,the Debtor
    2 agreed to the remand ofthe Ayzenberg Adversary Action to the Superior Court. The Court
    3 entered an orderaccordingly on August4,2020.2
    4         17.   Based on the foregoing events, Ayzenberg has filed a proof of claim in the
    5 Debtor's bankruptcy case,which proof of claim is denominated as Claim Num ber 9 in the
    6 Claim sRegisterforthe Debtor'scase,pursuantto which Ayzenberg assel'tsageneralunsecured
    7 elaim in the sum of$35,000. The Debtorhas tiled a m otion seeking to disallow the foregoing
    8 claim (Doc.No.1321,whichmotioniscurrentlypending.Thisclaim isthereforedisputed.
    9         18.    Priorto thePetition Date,on Decem ber13,2019,an entity called FR LLC tiled a
   10 complaint againstthe Debtor and others in the SuperiorCourt,alleging conversion,negligent
   11 bailment,unjustenriclunent,and quiettitle,therebycommencingthecasetitled FR LLC v.Lev
   12 Investments,LLC,et.Al,CaseNumber195-1-CV45132 (Thet'FR Action''). Pursuantto theFR
   13 Action,FR LLC alleged thatthe Debtorhad obtained a loan in the sum of$119,000 from FR
   14 LLC'S 'ûassignor'',which loan was secured by a lien againstthe Albers Property,although no
   15 loan docum ents exist. However,the Debtor has never obtained a loan from FR LLC or its
   16 assignor,doesnotknow who FR LLC oritsassignor(whoseidentity FR LLC hasrefused to
   17 discloseto date)is,and strongly disputesal1ofthe allegationsmade by FR LLC in the FR
    l8 Adion.
    19      19.      On December31,2019,FR LLC recorded anoticeofpendency oftheFR Action
   20 againsttheAlbersProperty,aslnstrumentNumber20191465878 (the'ûFR LisPendens''). The
   2 1 D ebtor contends thatthe reeordation ofthe FR Lis Pendens wasunw arranted and im proper.
   22         20.    OnJune 5,2020,theDebtortiled anoticeto rem ovethe FR Action in itsentirety
   23 to thisCourt,thereby comm encing the adversary proceeding titled FR LLC v.LevInvestments,
   24 ffc,etal.,AdversaryProceedingNumberl:20-ap-01060-VK (thetEFR AdversarvAction'').
   25         21.    Although FR LLC opposed theDebtor'sremovalofthe FR Action and soughtto
    26 rem and the FR Adversary Action to SuperiorCourt,the Courtdenied FR LLC'S request. The

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           2See,Doc.No.14,Adversary Proeeeding No.1:20-ap-01062-VK.


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    1 basesfortheCourt'sdecision notto remand the FR Adversary Action is setforth in the Court's

    2 rulingfiledasDocketNumber1lintheFR AdversaryAction(Adversary ProceedingNo.1:20-
    3 ap-ol060-VK).
    4         22.    The Debtorintendsto file am otion in the FR Adversary Action to expungethe
    5 FR LisPendensandwillseek paym entofitslegalfeesand costsin connedion therewith.
    6         23.    As of the Petition Date,the Debtor was also involved in litigation with the
    7 Lenders. On Septem ber27,2019,theDebtortiled itsfirstamended verified complaintagainst
    8 the Lendersin the SuperiorCourt,alleging breach ofimplied covenantagainstencumbrances,
    9 usury,and quiettitle,and seeking declaratory relief,thereby comm encing the case titled Lev
   10 Investments,LLC v.Feygenberg,etal.,CaseNumber19VECV00878(TheûtLendersAction'').
   11         24.    On M arch 20,2020,the Lendersfiled a cross-complaintagainstthe Debtorand
   12 others (the dtcross-Defendants''),alleging,among othercausesofaction,breach ofcontract,
   13 breachoftiduciaryduty,indemnity,quiettitle,andseekingdeclaratoryand injunctiverelief(the
    14 ifross-complaint'').
    15        25.    On June26,2020,theLendersremoved the LendersAction,including theCross-
    16 Complaint,to thisCourt,thereby comm ending the adversary proceeding bearing the Adversary
    17 Proceeding Number 1:20-ap-01065-VK (the ttLenders Adversarv Action''). The Cross-
    18 Defendants other than the Debtor have opposed the rem ovalof the Lenders Action and are
    19 seekingtoremandtheLendersAction(includingtheCross-complaint)toSuperiorCoul't.
   20         26.    Prior to the Petition Date,while the Lenders Action was pending in Supelior
   21 Court,the Lendersrecorded anoticeofdefaultagainstthe AlbersProperty and then anotiee of
    22 trustee's sale,pursuantwhich the Lendersscheduled a foreclosure sale forthe AlbersProperty

    23 on June2,2020.
    24         27. TheDebtordetermined in itsreasonablejudgmentthatitwasin thebestinterest
    25 ofitsestateto tileachapter11bankruptcy caseto preventtheforeclosureoftheAlbersProperty
    26 (theDebtor'sprimaryasset)and topreservetheequityintheAlbersProperty forthebenefitof
    27 a11creditors(notjusttheLenders),and to obtain resolution ofthevariouslitigationmattersin
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    1 which theDebtorwasinvolved in an orderly and coordinated manner.TheDebtorhasproposed

    2 thisPlan to repay itscreditorsin fu11in accordancewiih thetenussetforth herein.
    3        B. Liquidation Analvsis
    4         One contirm ation requirem entisthe tûBestlnterestTest,''which requires a liquidation
    5 analysis. Underthe BestlnterestTest,ifa claim antor interestholderis in an im paired class
    6 and that claim ant or interestholder does not vote to acceptthe Plan,then that claim ant or
    7 interest holder m ust receive or retain under the Plan property of a value not less than the
    8 amountthatsuch holderwould receive orretain ifthe Debtorwere liquidated underchapter7

    9 ofthe Bankruptcy Code.
   10         ln a chapter7 case,the debtor'sassetsare usually sold by a chapter7 trustee. Secured
   11 creditorsarepaid firstfrom the salesproceedsofpropertieson which the secured creditorhasa
   12 lien. Administrative clailns are paid next. Next, unseeured creditors are paid from any
   13 remaining sales proceeds,according to theirrights to priority. Unsecured creditors with the
   14 same priority share in proportion to the amountof their allowed claim in relationship to the
   15 am ountoftotalallowed unsecured claim s. Finally,interestholders receive the balance that
   16 rem ainsaftera1lcreditorsarepaid,ifany.
    17        Forthe Courtto be able to confinn the Plan,the Courtmusttind thata1lcreditors and
    18 interestholderswho do notacceptthePlan willreceive atleastasmuch underthePlan assuch
    19 holderswould receive undera chapter7 liquidation ofthe Debtor. TheDebtorm aintainsthat

   20 thisrequirem entisclearly m et.
   21         Theimpaired classesunderthePlan consistofclasses 1,2,3,5 and 5a,and to theextent
   22 determ ined to haveallowed claims,class4. TheDebtormusttherefore satisfythek'bestinterest
   23 ofcreditorstest''with respectto m embersofsuch classesthatdo notvoteto acceptthePlan.
   24         Attached as Exhibit 1 hereto, in balance sheet form at, is a dem onstration of the
   25 liquidation analysisin ahypotheticalchapter7 caseasofSeptemberl,2020,ifthe casewereto
    26 be converted to chapter7 instead ofthe chapter11planbeing continned. Asshown in Exhibit
    27 1,allereditorsandinterestholderswillreceiveasmuch ormoreunderthePlan asthey would
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    1 receive under a Chapter 7 liquidation of the Debtor. See,Exhibit 1. As reflected in the
    2 liquidation analysissetforth in Exhibit1,the Plan provides atleastasmuch - and m ore- to
    3 creditors,and thereforem eetstherequirem entsoftheBestlnterestTest.
    4         C.Plan Pavm entPrm-ections
    5         The Plan willbe composed of several components to ensure maxim um payment on

    6 accountofallowed claim s:
    7                On the Effective Date,LDIVentures,LLC ('ûLDl''),an insiderofthe Debtor,
    8 willprovideacash loan in the sum of$700,000 to theDebtorand itsestate,which fundswillbe
    9 used to pay $722,675 to Sensible on accountofthe undisputed portion ofthe secured claim ,
   10 which iscalculated asfollows:
   11                Asserted PlincipalAm ount                  $1,257,675
   12                LessRefund To Sensible               -     <$235,000>
   13                LessM ing Zhu secured claim                <$300s000>
   14                Am ounttobepaid                            $722,675
   15         LDl's$700,000 loan and lien willbejuniorin priolity to existing liensand willbear
   16 interestat8% per annum ,which is substantially lessthan the currentinterestrate asserted by
   17 Sensible,thereby benetm ingtheDebtor'sestateand creditors.
   18         2.     LDlwillagree to subordinate itsgeneralunsecured claim againstthe Debtor,in
   19 theam ountof$2,800,000,to allotherallowed generalunsecured claim sagainstthe Debtorand
   20 its estate. Based on the foregoing,the totalallowed amountofgeneralunsecured claims is

   21 estim ated by theDebtorto belessthan $500,000.
   22         3.     The Debtorwillcontinue with its effortsto sellthe Albers Property,which the
   23 Debtorbelieveshasa m arketvalue ofapproxim ately $3,000,000. Based on the equity in the
   24 Albers Property,which isestimated to be approxim ately $1,500,000,and withouttaking into
   25 accounttheCoachellaProperty,the Debtorbelievesthatthere willbe sufticientfundsto pay a11
   26 allowed claim sin 111. W hile the amountofasserted claimsissubstantially higher,the Debtor
   27 believes that certain of the asserted claim s will be reduced or elim inated in their entirety.
    28 Nevertheless,thePlan providesforpaym entofal1such claim sup tothevalueofestateassets.



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    l         4.     The Debtor is also proceeding with foreclosure of the Coachella Property and
    2 willuse the proceedsofthe saleofthe CoachellaProperty to pay allowed claim s,to the extent

    3 theyremain unpaid.
    4         5.     The Debtor shallalso proceed with pending estate claim s and willpursue such

    5 additionalestateclaim sand causesofaetion asareappropriate.
    6               111.    TREATM ENT OF CREDITORS'CLAIM S UNDER THE PLAN
    7         A. W hatCreditorsW illReceiveUnderthe Plan
    8         Asrequired by the Banknlptcy Code,the Plan classities certain claim sand interestsin
    9 various 'tclasses'' according to their right to priority and leaves other types of claim s
   10 unclassified. Also,asrequired by the Bankruptcy Code,the Plan stateswhethereach
   11 claims or interests is im paired or unimpaired and describes the treatment each class will

   12 receive.
   13         1. Unclassified Claim s
   14         Certain typesofclaim sarenotplaced into voting classes;instead they are unclassified.
   15 The Bankruptcy Codepredetennineswhattypeoftreatmentthese claim swillreceive. They are
   16 not considered impaired and they do not vote on the Plan because they are autom atically
    17 entitled to specific treatm entprovided forthem in the Bankruptcy Code. As such,the Debtor
    18 hasnotplaced the following claim sin a class.
    19                     a. AdministrativeExpenses
   20                 Administrative expenses are claim s for costs or expenses ofadm inistering the
   21 Debtor's Bankruptcy Case that are allowed under Bankruptcy Code Section 507(a)(2).
   22 Although Banknlptcy Code Section 1129(a)(9)(A)requires thata11administrative claims be
   23 paid on the Plan Effective Date unless a particular claimant agrees to a different treatm ent,
   24 Bankruptcy Code Section 1191(e) provides an exception by pennitting confirmation of a
   25 subchapterV planthatprovidesforthepaymentofadministrativeclaimsldthroughtheplanl.l''
   26          Thefollowing chartlistsglloftheDebtor'sj507(a)(2)administrativeclaimsandtheir
    27 treatm entunderthePlan.
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    2                                                                 EjyectiveDate
    g         Levene,Neale,Bender,         $200,000(est.)             Paidinfu11outofthe
              Yoo & BrillL.L.P.                                       Debtor'scash on hand on
    4         ('ELNBYB''),bankruptcy                                  thelaterof(i)thedate
              counselto theDebtor                                     thatthe Courtentersan
    5                                                                 orderallowing such fees
    6                                                                 andexpensesand(ii)the
                                                                      date ofclosing ofthe sale
    y                                                                 oftheAlbersProperty
              CarolineR.Djang,             $50,000(est.)              Paidinfulloutofthe
    8         SubchapterV Trustee                                     Debtor'scash onhand on
                                                                      thelaterof(i)thedate
    9                                                                 thattheCourtentersan
                                                                      orderallowing such fees
   10                                                                 and expensesand(ii)the
   11                                                                 dateofclosingofthesale
                                                                      ofthe AlbersProperty
   12         Accountant                   $10,000(est.
                                                      )               Paidinfu11outofthe
    13        (Tobedetenuinedl                                        Debtor'scash onhandon
                                                                      thelaterof(i)thedate
    14                                                                thattheCourtentersan
                                                                      orderallowing such fees
    15                                                                andexpensesand (ii)the
                                                                      dateofclosing ofthesale
    16                                                                ot-theAlbersPro ert
    17        TOTAL                        $260,000 est.

    18
    19         The Courtm ust approve al1professionalfees and expenses listed in this chartbefore
   24) theymaybepaid.Foral1professionalfeesand expenses(exceptfeesowingtotheClerk ofthe
    21 Bankruptcy Court),the professionalin question musttile and serve a properly noticed fee
   22 application and the Courtmustrule on theapplieation. Only the am ountoffees and expenses
    23 allowedby theBanknlptcy Courtwillberequired tobepaidunderthe Plan. The adm inistrative
    24 claim am ountssetforth above simply representtheDebtor'sbestestim atesasto theamountof
    25 allowed adm inistrative claim s in the Bankruptcy Case. The actualadministrative claim sm ay
    26 be higher or lower. M uch of whether the actual adm inistrative claim s described above for
    27 professionals will be dependent upon whether the Debtor is required to engage in any

    28 substantiallitigation regardingthe confirmation ofthePlan and/orobjecting to claims. To the


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    1 extentthe Debtorisrequired to engagein any such substantiallitigation,theDebtorislikely to

    2 incurprofessionalfees and expensesin excess (and possibly substantially in excess)ofthe
    3 tigures set forth above. By voting to acceptthe Plan,creditors are not acknowledging the
    4 validity of,orconsenting to the amountof,any ofthese administrativeclaim s,and creditorsare

    5 notwaiving anyoftheirlightsto objecttotheallowanceofany oftheseadministrativeclaims.
    6 By including the figuresdescribed above,the Debtorisnotacknowledging the validity of,or
    7 consenting to the am ountof,any ofthese administrative claim s,and the Debtorisnotwaiving
    8 any ofitsrightsto objectto the allowaneeofany oftheseadministrative claims. Similarly,
    9 professionalswho have been employed in the Bankruptcy Case arenotbeing deem ed to have
   10 agreed that the tigures contained herein represent any ceiling on the amount of fees and
   11 expensesthattheyhaveincurred orare entitledto seek tobepaid pursuantto Bankruptcy Court

   12 orderassuchfeesandexpensesarejustestimatesprovidedatthetimeofthepreparation ofthis
   13 Plan.
   14         To the extent administrative claims are allowed prior to the Effective Date, such
   15 allowed administrativeclaim sm ay bepaid by theDebtoroutoftheDebtor'sfundsprovided the
    16 Debtorhassufficientfundsto pay them . To the extentadm inistrative claim sare allowed after
    17 theEffectiveDate,such allowed adm inistrativeclaim swillbepaid bytheReorganized Debtor.

    18                   b. PriorityTax Claims
    19         Prepetition priority tax claimsinclude certain unsecured incom e,em ploym entand other
   20 taxesdescribed by Section 507(a)(8)ofthe Bankruptcy Code. Section 1129(a)(9)(C)ofthe
   21 Bankruptcy Code requires that each holderof such a Section 507(a)(8) pliority tax claim
   22 receiveregularinstallmentpaym entsofa totalvalue,asofthe Plan EffectiveDate,equalto the
   23 allowed amountofsuch allowed tax claim s,overa period ending notlaterthan tive yearsaûer
   24 thePetition Date,and notlessfavorablethan othercreditorspaid underthePlan. lnterestrates
    25 on these claim sare conclusively determined by applicablenon-bankruptcy 1aw asofthem onth

    26 thatthePlaniscontinned. 11U.S.C.j511.
    27        UnderthePlan,a1lallowed Section 507(a)(8)prioritytaxclaimswillbepaidin fullon
    28 theEffectiveDateorassoon thereafterasispracticable.



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    1         A failure by the D ebtor to m ake a paym enton the pliority tax claim s pursuant to the
    2 tenns ofthe Plan willbe an eventofdefault. Ifthe eventofdefaultisnotcured within thirty
    3 (30)daysafterservice ofwritten noticeofdefaultfrom the taxing autholity,then the taxing
    4 authority may enforce its applicable rem edies exclusively by application to the Bankruptcy
    5 Courtandwithjurisdictionmaintained exclusively bytheBankruptcyCourt. Thechartbelow
    6 indicates a11priority tax claim swhich were eitherscheduled by the Debtor or asserted by the
    7 taxing agenciesin timely tiledproofsofclaim .Theinclusion oftheclaim sin the chartbelow is
    8 intended simply to reflectthe claims thathave been scheduled and/orasserted in tim ely filed
    9 proofs ofclaim aspriority tax claim s,and is notintended to be a concession by the Debtor
    10 regarding thevalidity ofthe am ountofany such claim sorthe classification ofsuch claim sas
    11 prioritytaxclaimsunderSection507(a)(8)oftheBankruptcyCode.
    12
                   Claim ant             ProofofC laim N o.        Claim A m ount
    13 FranchiseTax Board                         1                       $800.00
    l4
    15            2. Classified Claim sand lnterests
    16               a. Non-Tax Pre-petition Priority Claim s
    l7        Certain prepetition priority claim s that are referred to in Bankruptcy Code

    18 507(a)(4),(5),(6),and (7)are required to be placed in classes. These types ofclaims
    19 entitled to priority treatment under the Barlkruptcy Code as each holder of such an
    20 claim m ustreeeive cash on the Effective Date equal to the allowed amount of such claim .
    21 However,the holder of such an unsecured priority claim m ay agree to acceptdeferred
    22 paym entsofavalue,asofthe Effective Date,equalto the allowed amountofsuch claim .
    23 Debtor'sschedulesretlectno creditorsasholding priority unsecured claims.N o creditors
    24 proofsof claim asserting non-tax priority unsecured claim s. The below chartsum m arizesthe

    25 priolitynon-taxclaimsandwhethertheDebtorisconsideringanobjedionatthistime:
    26
    27 Name                    Claim No. Ob-ection          Claim Am ount
       None                       N/A      N/A                      $0.00
    28



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    1                 b. Class 1- Allowed Secured Claim ofSensibleConsulting & M anagem ent,

    2                    LLC
    3          The following chartidentifiesthe Plan'streatm entofClass 1 comprised ofthe allowed

         securedclaim ofSensibleConsulting& M anagement,LLC ('ksensible'').
    5
               C LA SS    D ESC R IPTIO N         IM PA IRED    TR EA TM EN T
               #                                   V O TIN G
               1          Claim ant:             Impaired       Class 1 shall have an allowed
                          Sensible Consulting                   secured claim an am ount to be
                          &      M anagem ent, Entitled         detennined by the Coul'  t upon
                          LLC                  to vote.         entl'y of a final non-appealable
                                                                orderallowing such claim .
                          Tvpe of Claim :
                          Allowed Secured                       First priority lien on the Albers
                          Claim                                 Property

                          Claim am ount:                        On the Effective Date, Class 1
                          To bedetennined                       shall receive a paym ent of
                           (Proof of claim                      $722,675 on account of the
                          am ount           is                  undisputed portion ofits secured
                           $1,586,286.14)                       claim. W ith respect to the
                                                                balance of its allow ed claim ,
                           Collateral:                          upon the entry of a final and
    16                     AlbersProperty                       nonappealable order allowing
                                                                such claim ,Class 1 shallreceive
    17                                                          fu11 payment of its allowed
                           This claim   is                      secured claim from the net
    18                     disputed   and                       proceedsofthe saleoftheAlbers
    19                     subjecttolitigation                  Property,aftercostsof sale and
                                                                brokers' commissions (the
    20                                                          t'AlbersPropertvSaleProceeds'')
                                                                upon the later of(i)the closing
    21                                                          date of the sale of the Albers
                                                                Property, and (ii) the date of
    22                                                          entry of a finaj ajad non-
    23                                                          appealable     Court       order
                                                                detennining the allow ed am ount
    24                                                          OftheClass 1claim .

    25




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    1              c. Class2- Allowed Secured Claim ofM ing Zhu,LLC
    2        The following chartidentifiesthe Plan'streatnwntofClass 2 comprised ofthe allowed

    3 secured claim ofM ing Zhu,LLC.

    4
             C LA SS    DE SC R IPTIO N         IM PA IR ED   TREA TM EN T
    5        #                                    VOTING
             2          Claim ant:              lmpaired      Class 2 shall have an allow ed
    6                   M ing Zhu,LLC                         secured claim an am ount to be
    y                                   Entitled              detennined by the Court upon
                        Tvpe of Claim : to vote.              entry of a final non-appealable
    8                   Allowed Secured                       orderallowing such claim .
                        Claim
    9                                                         Junior secured judgnwntlien on
   10                   Claim am ount:                        theAlbersProperty
                        To be detenuined
   11                   (Proof of claim                       Class 2 shall receive full
                        am ount            is                 paym ent of its allowed secured
   12                   $286,291.67)                          claim from the Albers Property
                                                              Sale Proceeds upon the later of
   13                   collateral:                           (i)theclosing dateofthesale of
   14                   AlbersProperty                        the AlbersProperty,and (ii)the
                                                              date ofentry ofa tinaland non-
   15                   This claim   is                       appealable     Court       order
                        disputed   and                        detennining the allow ed am ount
   16                   subjecttoIitigation                   oftheClass2claim.
   17
    18 /l/
    19 ///
   20 ///
   21 ///
   22 ///
   23 ///
   24 ///
   25 ///
   26 ///
   27 ///
   28


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                      d. C lass3 - A llow ed Secured C laim ofLos Angeles County Tax Collector
               The follow ing chartidentities the Plan's treatm entof Class 3 com prised ofthe allow ed

         secureddaim oftheLosAngelesCountyTaxCollector(thettcountv'').

              C LA SS      DESCR IPTIO N            IM PA IR ED    TREA TM EN T
              #                                      V O T IN G
              3            Claim ant:              lm paired       Class 3 shall have an allow ed
                           Los A ngeles County                     secured claim in the sum of
                           Tax Colleetor           Entitled        $58,203.26, plus any unpaid
                                                   to vote.        interestaccrued thereon.
                           Type of Claim :
                           Allowed Secured                         Secured tax lien on the A lbers
                           Claim                                   Property

                           Allow ed        Claim                   Class 3 shall receive full
                           amount:                                 payment of its allowed secured
                           $58,203.26                               claim from the Albers Property
                                                                    Sale Proceeds on or before the
                           Collateral:                              closing date of the sale of the
                           AlbersProperty                           AlbersProperty.


    15
    16
    17
    18




    21




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    1              e. Class4 - Disputed Secured Claim sofFR LLC
    2        Thefollowing chartidentitiesthe Plan'streatnzentofClass4,com prised ofthe disputed

    3 secured claim ofFR LLC.
    4
             CLA SS     DESCR IPTIO N          IM PA IR ED    TREA TM EN T
    5        #                                  VOTING
    6        4          Claimant:             Impaired (if Class 4 shall have an allowed
                        FR LLC                Claim      is secured claim , if any, in an
    7                                         allowed)        amountto be detennined by the
                        Tvpe of Claim :                 Courtupon entry of a final non-
    8                   Disputed Secured                appealable order allowing such
                        Claim            N ot entitled claim .
    9                                    to vète unless
   10                   Claim am ount:        claim      is Juniorsecured lien on the Albers
                        To be determ ined     allow ed        Property if seeured claim is
   11                   (Proof of claim                       allowed
                        am ount for FR LLC
   12                   is$195,621.39)                        Class 4 shall receive full
                                                              paym ent of its allow ed secured
   13                   collateral:                           claim , if any, from the A lbers
   14                   AlbersProperty                        Property Sale Proceeds upon the
                                                              laterof(i)theclosing dateofthe
   15                                                         sale of the Albers Property,and
                                                              (ii) the date of entry of a tinal
   16                                                         and non-appealable Court order
                                                              determ ining the allow ed am ount
   17                                                         oj-the class4 claim .
    18
    19
   20               f. Classes 5a and 5b - Allowed General Unsecured Claims and
   21                  Subordinated GeneralUnsecured Claim ofLDI
   22        Generalunsecured claim sareunsecured claimsnotentitled to priority underBankruptcy
   23 CodeSection507(a).ThefollowingchartidentitiesthePlan'streatmentoftheclasscontaining
   24 allofthe Debtor'snon-priolity generalunsecured claims(see the Claims Chartfordetailed
   25             abouteachgeneralunsecuredclaim):
   26
   27
   28


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              CLA SS     DESCR IPTION          IM PA IR ED    TR EA TM EN T
              #                                 Ym
              5a         All         general                  ln full and tinal satisfaction of
                         unsecured claim s of Y es.           eaeh,any,and a11of their elaim s
                         the Debtor not                       against the Debtor, each holder
                         included in any Entitled        to   ofa Class 5a allowed claim will
                         otherclass.          vote            receive a cash paym ent equal to
                                                              its prorated share of the Albers
                         Total amount of                      Property       Sale     Proceeds
                         Class 5a claim s is                  rem aining after paym ent of a1l
                         estimated to range                   allowed adm inistrative claims
     7
                         from $334,453.04 -                   and a11Allowed Class 1,Class2,
     8                   $6,929,675.70,                       Class 3, and Class 4 secured
                         depending on the                     claims (the tsRem aininM Albers
     9                   results of the                       Propel'
                                                                    tv SaleProceeds'')aswell
                         Debtor's objections                  asproceedsfrom the sale ofthe
                         to certain claim s.                  Coachella Property,to the extent
                                                              any claim srem ain unpaid.
    11
                         The Claim s Chart
                         attached as Exhibit                  Class 5a w illnot receive interest
                         ; to the Plan shows                  ontheirclaims.
    13                   al1 claim s which
                         w ere scheduled by
                         the D ebtor and all
                         proofs of claim
                         w hich have been
                         tiled against the
                         D ebtor that are in
                         Class 5a and Class
                         5b.

              517        A 11        general Y es.            In fulland finalsatisfaction ofits
                         unsecured claim s of                 Class 5b Claim , LDl shall
                         LD I.                Entitled   to   receive any rem aining proceeds
                                              vote            from the sales of the A lbers
    21                   Total am ount of                     Property and Coachella Property
                         Class 517 claim s is                 after paym ent of a11 other
                         estim ated to be                     allow ed claim s against the
                         $2,800,000                           Debtor.
                                                              Class 5b w illnotreceive interest
                                                              on theirclaim s.




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     1                 g. ClassofInterestHolders
    2         Interestholdersarethepartieswho hold an ownership interest(i.e.,equity interest)in
    3 the Debtor.
    4         ln compliance with 11 U.S.C. j 1123(a)(6),the Debtor's charter,bylaws, and/or
     5 operating agreem entwillbe amended to providefortheinclusion ofaprovision prohibiting the

    6 issuanceofnonvoting equity securities.
     7        Thefollowing chartidentifiesthePlan'streatmentoftheclassofinterestholders:

     8        CLASS          DESCRIPTION            IM PAIRED           TREATM ENT
              #                                      Ym
     9            6          squity interests in    unimpaired          The class6 interestholder
    10                       Debtor                                     will retain rights and
                             (100%       held   by The Class 6 interests                   without
    11                       Ekaterina              interestholder is impairment.
                             Lyudkovskaya)           eonclusively
    12                                              presum ed    to     Class6 willnotreceiveany
                                                    have voted to       paym entson accountofher
    13                                              accept the Plan     equity interests during the
    14                                              by operation of     lifeofthePlan.
                                                    law
    15
    16        B. M eansofEffectuating and Implementing thePlan
    17                1.Fundingforthe Plan
    18        ThePlan willbefunded with thefollowing:
    19                  a.     Cash on hand in theapproxim ateamountof$200,000,
                                                                              .
    20                  b.     $700,000juniorsecuredloan from LDlontheEffectiveDate;
    21                  c.     Proceeds from the sale ofthe Albers Property,which is estim ated to be

    22         sold forapurchasepriceofapproxim ately $3,000,000*
                                                                ,
    23                  d.     Proceeds from the sale ofthe Coachella Property,which is estimated to
    24         be sold forapurchasepriceofatleast$2,500,000;and
    2j                  e.     Pursuitofotherestateclaim sand causesofaction.

    26
    27
    28



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    1                2. C om position ofthe D ebtor After the Effective D ate
    2         Afterthe EffediveDate,the Debtorshallbe ltnown asthe ''Reorganized Debtor.'' The
    3 sole m ember ofthe Debtor,Ekaterina Lyudkovskaya,willremain as the sole m ember ofthe

    4 Reorganized Debtor.
    5                3. Post-confirm ation M anagem entand Com pensation
    6         The currentM anagerofthe Debtor,DmitriLioudkouski,willremain asthe M anagerof
    7 the Reorganized Debtor and will be responsible for the management and operation of the
    8 Debtor'sbusiness. M r.Lioudkouskiwillnotreceive compehsation forhis senices asM anager

    9 oftheReorganized Debtor.
   10                4. Disbursing Agent
   11         lfthePlaniseonfirmed pursuantto        U.S.C.j 1191(a),theReorganized Debtorwill
   12 actasthe disbursing agentunderthe Plan. lfthe Plan isconfinned pursuantto 11U.S.C.#
   13 1191(b),the Reorganized Debtorwillactasthedisbursing agentunderthePlan and submita
   14 quarterly reportto theTrustee,within 45 daysafterthe end ofeach quarter,detailing thepayees
   15 and am ountsofpaymentto creditorsunderthe Plan with bank statem entsasproofofpaym ent.
   16 The Reorganized Debtorwillnotcharge any fee for acting asthe disbursing agentand ibr
    17 m akingthePlan distributions.
    18                5. ObjectionstoClaims
    19         The Debtororthe Reorganized Debtor,as the case may be,willtile objections to a11
   20 claimsthatareinconsistentwiththeDebtor'sbooksandrecordsorareotherwiseobjeetionable
   21 to the Debtorunless the Debtor deem s the inconsistency to be insigniticant. W ith respectto
   22 disputed claim sthatare notresolved priorto the Plan Effective Date,the Reorganized Debtor
    23 willhave the authority,in its sole discretion,and in the reasonable exercise of its business
   24 judgment,to settleorcompromiseany disputed elaim withoutfurthernoticeorCourtapproval.
    25 AsprovidedbySection 502(c)oftheBankruptcyCode,theBankruptcyCourtmayestimateany
    26 contingentorunliquidated disputed claim forpurposes ofeonfinuation ofthe Plan. Asofthe
    27 Effective Date,the Reorganized Debtor shallhave the sole authority and standing to file any
    28 objections to claims following the continnation of the Plan, and the Court shall retain


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    l jurisdictionovertheDebtor,theReorganized Debtor,and theBankruptcyCasetoresolve
    2 objectionstoclaimsfollowingtheconfinnation ofthePlan.Nothingcontainedin thePlan
    3 constitute awaiverorreleaseby theDebtorortheReorganized Debtorofany rights
    4 recoupm ent,orofany defense,the Debtororthe Reorganized Debtorm ay have with respect

    5 anyclaim. Thedeadlineforfiling claimsobjectionsshallbe 180 daysafterthePlan
    6 Date.
    7            6. AvoidanceActions,Strong Arm Pow ers,and CausesofAction
    8         A1l avoidance actions and strong-arm powers of a trustee under chapter 5 of
    9 Bankruptcy Code, shall '
                             irrevoeably vest in the Debtor and be transferred in total to the
   10 Reorganized Debtor upon continuation ofthe Plan.The deadline for tiling avoidance actions
   11 underchapter5 ofthe Bankruptcy Code shallbe the Plan Effective Date. The deadline forthe

   12 Debtor or Reorganized Debtorto tile any non-avoidance action shallbe the laterof (i)the
   13 statute of limitations for such cause of action and (ii) two years after the Petition Date.
   14 Regardless of whether they are listed on the Debtor's bankruptcy schedules of assets
   15 specified in the Plan,a11causes ofaction owned by the Debtor shallvestin the Reorganized
   16 Debtor unless specitically settled with such settlem ent approved by order ofthe
   17 Courtpriorto confirm ation ofthePlan.
    18           7. Em ploym ent of Professionals by the Reorganized Debtor and Paym ent
    l9               ProfessionalFeesand ExpensesAftertheEffectiveDate
   20         On and afterthe EffectiveDate,the Reorganized Debtorshallhave the rightto employ
   21 and compensate professionals as the Reorganized Debtor detennines is appropriate and to
   22 com pensate any such professionals without the need for any notice or further order of the

   23 Bankruptcy Court.
   24            8. Exemption from TransferTaxes
   25         Pursuantto section 1146(c)oftheBankruptcy Code,theissuance,transferorexchange
   26 of a security,orthe making or delivery of an instrument oftransfer under a plan continued
    27 undersection 1129 ofthe Bankruptcy Code,m ay notbetaxed underany 1aw imposing a stamp
    28 taxorsimilartax.TransfersunderthePlanthatareexemptfrom taxesundersection 1146(c)


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    1 the Bankruptcy Code include all transfers by the Debtor after the comm encem ent of the
    2 Bankruptcy Case in contemplation ofthe Plan butpriorto the Effective Date. The taxes from
    3 which such transfers are exempt include stamp taxes, recording taxes,sales and use taxes,
    4 transfertaxes,and othersim ilartaxes.
    5             9.Distributionsto BeM adePursuantto the Plan
    6         Exceptasothelw ise agreed to by the Reorganized Debtorin writing,distributions to be
    7 m ade to holders of allowed claim s pursuant to the Plan may be delivered by regular mail,
    8 postageprepaid,to the addressshown in the Debtor'sschedules,asthey m ay from tim eto tim e
    9 be am ended in accordance with Bankruptcy Rule 1009,or,ifa differentaddressis stated in a
   10 proof ofclaim duly filed with the Bankruptcy Court,to such address. Checks issued to pay
   11 allowed claimsshallbenulland void ifnotnegotiated within sixty (60)daysafterthedateof
   12 issuancethereof.
   13             10.Exculpationsand Releases
   14         To the m aximum extentpermitted by law,neitherthe Debtor,the Reorganized Debtor,
   15 theirm anagem ent,norany oftheirprofessionalsemployed orretained by any ofthem ,whether
   16 ornotby Bankruptcy Courtorder,shallhave orincur any liability to any person orentity for
   17 any ad taken oromission m ade in good faith in connection with orrelated to the fonnulation
   18 and implementation of the Plan, or a contract, instrum ent,release,or other agreem ent or
    19 documentcreated in connection therewith,the solicitation ofacceptancesfororconfinuation of
   20 the Plan, or the consummation and im plem entation of the Plan and the transactions
   21 contemplated therein,includingthedistlibution ofestatefunds.

   22            11.lnjunctions
   23         ThePlanConfinuationOrdershallenjointheprosecution,whetherdirectly,delivatively
   24 orotherwise,ofany elaim,obligation,suit,judgment,damage,demand,debt,right,cause of
   25 action, equitable remedy, liability or interest released, discharged, stayed, or terminated
   26 pursuantto the Plan. Exceptasprovided in the Plan orthe Plan Continnation Order,asofthe
    27 Plan EffectiveDate,a11entitiesthathaveheld,currently hold orm ay hold a claim orotherdebt
    28 orliability orequitablerem edy thatwasstayed oris discharged oran interestorotherrightof



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    1 an equity security holderthatisextinguished pursuantto theterm softhe Plan arepenuanently

    2 enjoined from taking any of the following actions against: (l) (a) the Debtor, (b) the
    3 ReorganizedDebtor,or(c)theofticers,directors,managers,andequityholdersoftheDebtoras
    4 theiralleged alteregos,or(11)theirproperty;on accountofany such discharged claims,debts
    5 orliabilitiesorextinguishedinterestsorrights:(i)commencingorcontinuing,in anymanneror
    6 in anyplace,anyaction orotherproceeding;(ii)enforcing,attaching,collectingorrecovering
    7 inanymanneranyjudgment,award,decreeororder;(iii)creating,perfectingorenforcingany
    8 lien orencumbrance'
                        ,(iv)asserting a setoff,rightofsubrogation orrecoupmentofany kind
    9 againstany debt,Iiability orobligation dueto the Debtor;and (v)eommencing orcontinuing
   10 any action in any manner,in any place,thatdoes notcom ply with or is inconsistentwith the
   11 provisions of the Plan. By accepting distlibutions pursuant to the Plan,each holder of an
   12 allowed claim receiving distributionspursuantto thePlan shallbe deem ed to have specifically
   13 consentedtotheinjunctionssetforthinthisSection.Theinjunctiondescribedinthisparagraph
   14 (thettlniunction'')isapplicableto allcreditorsand partiesin interestwith respectto elaimsor
   15 causesofaction arising orexistingpriorto thePlan EffectiveDate.
   16         Al1 creditors and parties in interest who are presented with a copy of the Plan
   17 Confirmation Order are charged with actualknowledge ofthe lnjunction and with actual
    18 knowledge thatthe lnjunction isapplicable to said creditorand/orparty in interest(stActual
    19 Knowledge''),suchthatitisimpossibleforsaidcreditorand/orparty ininteresttohaveagood
   20 faithbeliefthattheInjunction doesnotapplyto said creditor'sand/orpartyininterest'sclaim
   21 orcause ofadion.Accordingly,any creditorand/orparty in interestcharged with such Actual
   22 Knowledgemaybeheld in contemptforviolating the lnjunction,which contemptproceeding
   23 shallinclude the Reorganized Debtor's reasonable attorneys'fees and costs for enforcing the

   24 lnjunction.
   25                12.Executory Contractsand Unexpired Leases
   26         TheDebtordoesnotbelieve itisa party to any executory contractsorunexpired leases.
   27 However,asoftheEffective Date,any executory contractand/orunexpired lease to which
   28 DebtorisapartyshallbedeemedtoberejectedbytheDebtoreffectiveasofl1:59 PST


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    1 Plan Effective Date. TH E BAR DATE FO R FILING A PRO OF OF CLAIM BASED ON
    2 A C LAIM A R ISING FRO M TH E R EJEC TIO N O F A N UN EX PIR ED LEA SE O R
    3 EXECUTORY CONTM CT W HICH IS REJECTED ON TH E PLAN EFFECTIVE
    4 DATE W ILL BE THIRTY DAYS AFTER THE PLAN EFFECTIVE DATE. Any claim

    5 resulting from theDebtor'srejeetionofanunexpiredleaseorexecutorycontractwillbebarred
    6 iftheproofofclaim isnottim ely tiled,unlessthe Courtordersotherwise. Any allowed claim
    7 resulting from theDebtor'srejection ofan unexpired leaseorexecutorycontractwillconstitute
    8 a Class5 allowed claim,subjed to the limitationssetforth in 11 U.S.C.j 502(b)and other
    9 applicable sectionsofthe Bankruptcy Code.
   10              13.Changesin RatesSubjecttoRegulatoryCommissionApproval
   11        TheDebtorisnotsubjecttogovernmentalregulatorycommissionapprovalofitsrates.
   12              14.Retention ofJurisdiction
   13        Aftercontirmation ofthe Plan and occurrence ofthe Plan Effective Date,in addition to
   14 jurisdiction which existsin any othercourt,theBankruptcy Courtwillretain suchjurisdiction
   15 asislegallypermissible including forthefollowingpurposes:
   16                      To resolveany and a11disputesregarding the operation and interpretation
   17 ofthePlan andthePlan Contirm ation Order;
   l8               ii.    To detenuine the allowability,classification,or priority of claim s and
   19 interestsuponobjectionbytheDebtorortheReorganizedDebtorandtoconsideranyobjection
   20 toclaim orinterestwhethersuchobjectionisfiledbeforeoraftertheEffectiveDate;
   21               iii.   To determinetheextent,validity and priolity ofany lien asserted against
   22 property oftheDebtorand property oftheDebtor'sestate;
   23               iv.    To construe and take any action to enforce the Plan, the Plan
   24 Contirmation Order,and any otherorderofthe Bankruptcy Court,issue such ordersasm ay be
   25 necessary forthe im plem entation,execution,performance,and consum mation ofthe Plan,the
   26 Plan Contirmation Order,and a11m atters referred to in the Plan and the Plan Confinnation
   27 Order,and to detenuine a11m atters thatmay be pending before thisBanknlptcy Courtin this

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    1 Bankruptcy Case on orbefore the Effective Date with respectto any person or entity related

    2 thereto;
    3                v.     To detennine any and allapplicationsforallowance ofcompensation and
    4 reimbursementofexpensesofprofessionalsfortheperiod on orbeforetheEffectiveDate;
    5                vi.    To determine anyrequestforpaym entofadministrativeexpenses'
                                                                                      ,
    6                vii.To determine motions for the rejection, assumption,or assignment of
    7 executory contractsorunexpired leasestiled beforetheEffectiveDateand theallowance ofany

    8 claim sresulting therefrom ;
    9                 viii. To determine a1lapplications,motions,adversary proceedings,contested
   10 m atters,and any otherlitigated mattersinstituted during thependency ofthe Bankruptcy Case
   11 whetherbefore,on,oraftertheEffectiveDate;
    12                ix.    To detennine such othermatters and forsuch otherpurposes asm ay be

    13 provided in thePlan Continnation Order;
    14                x.     To modify the Plan underSection 1193 oftheBankruptcy Codein order
    15 to rem edy any apparentdefectorom ission in the Plan orto reconcile any inconsistency in the
    16 Plan so asto carry outitsintentand pum oseupon motionbytheReorganizedDebtor;
    17                xi.    Except as otherwise provided in the Plan and the Plan Confirm ation
    18 Order,to issueinjunctions,to take such otheractionsormake such otherordersasmay be
    19 necessary orappropriate to restrain interferencewith the Plan orthe Plan Continuation Order,
    20 orthe execution orimplem entation by any person orentity ofthePlan orthePlan Contirm ation

    2 1 O rder;
    22                xii.To issue such orders in aid of consumm ation of the Plan and the Plan
    23 Continnation Order,notwithstanding any othelw iseapplicablenonbankruptcy law,with respect
    24 to any person orentity,to the fullestextentauthorized by the Bankruptcy CodeorBankruptcy

    25 Rules;
    26                xiii;To enteradischarge,under 11U.S.C.jj 1192 and 1l41(d),ifapplicable'
                                                                                            ,
    27 and
    28                xiv. To enterafinaldecreeclosingtheBankruptcy Case.



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    1         IV.    EFFECT OF CONFIRM ATION OF THE PLAN
    2                A. Discharze.
    3         lfthe Plan is confirmed pursuantto 11 U.S.C.j 1191(a),the Debtorshallreceive a
    4 discharge ofitsdebtspursuantto 1lU.S.C.j 1l41(d)on theEffectiveDate. IfthePlan is
    5 confirmedpursuantto 11U.S.C.j 1191(b),theDebtorshallreceiveadischargepursuantto 11
    6 U.S.C.jj1192 and 1l41(d),assoon aspracticableaftertheDebtorhascompletedpaymentto
    7 theClassesforwhichthePlanwascontinnedpursuantto 11U.S.C.j1191(b).
    8                B. M odification ofthePlan.
    9         The Debtor m ay modify the Plan at any tim e before confirmation. However, the
   10 Banknlptcy Courtmay require re-voting on the Plan ifthe Debtor modifies the Plan before
   11 confirmation in am annerthatm aterially and adversely affects a creditororinterestholderthat
   12 had voted in favorofthe Plan. lfthePlan iscontirmed pursuantto 11U.S.C.j 119l(a),the
   13 Reorganized Debtormay seek to modify the Plan atany tim e afterconfirmation ofthePlan so
   14 long as (1)the Plan hasnotbeen substantially consummated,(2)circumstanceswarrantthe
   15 moditication,and (3)theBankruptcy Courtauthorizestheproposedmodificationsafternotice
   16 and ahearing.
   17         lfthePlan iscontinued pursuantto 11U.S.C.j l191(b),theReorganized Debtormay
   18 seek to modify thePlan during the life ofthe Plan asfixed by the Court,so long as (1)the
   19 moditied plan stillmeetsthe requirementsof11U.S.C.j 119l(b),(2)circumstanceswarrant
   20 the modification, and (3) the Banknlptcy Courtautholizes the proposed moditications after
   21 noticeand ahearing.
   22                C. Post-confirm ation StatusReports.
   23         Untila tinaldecree closing the Bankruptcy Caseisentered,theReorganized Debtorwill
   24 tile quarterly post-continnation status reports with the Bankruptcy Court explaining what
   25 progresshasbeen madetoward consum mation ofthe confirmedPlan.

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   3 Bnnknlptcy Case underSection 1112(b)oftheBanknlptcy Code afterthe Plan isconflrmed,
   4 but before the fm al decree is entered, if there is a default in performing the Plan. If the
   5 Bnnknlptcy Court orders the Bankruptcy Case converted to chapter 7 after the Plan is
   6 cortflrmed,then al1property thathad been property ofthe Debtor's chapter 11 estate thathms
   7 notbeen disbursed pursuantto the Plan willrevestin the chapter 7 estate,and the autom atic
   8 stay willbe reimposed upon the revested property,butonly to the extentthatrelieffrom sGy
   9 wasnotpreviously authodzed by theBrmknlptcy Courtduring theBanknzptcy Case. The Plan
  10 ConGrmntion Orderm ay also be revoked tmdervery lim ited circum stances. The Bnnkrllptcy
  11 Courtm ay revoke the Plan Contlrm ation Order if itwas procured by âaud and ifa party in
  12 interestblingsan adversary proceeding to revoke conflnnation within 180 days afterthe entry
  13 ofthe Plan CoM rmation Order.
  14                  E. FinalDeeree.
  15          Oncethisesute hasbeen fully ndm inistered msreferred to in Bnnknlptcy Rule 3022,the
   16 Reorganized Debtor willSle a m otion with the Bnnkrlzptcy Courtto obtmin a fmaldecree to
   17 closetheBnnknlptcy Ca e. TheReorganized Debtorwillberesponsibleforthetim ely paym ent

   18 ofa1lfeesincurredpurslmntto28U.S.C.j1930(a)(6).
   19 Presented Bv:
  20 LEVENE,NEALE,BENDEK YO0 & BRILL L.L.P.
  21
      By: /s/David B.Golubchik
   22     DAVID B. GOLUBCHIK
   23     JULIET Y.OH
          AttorneysforChapter11
   24     Debtorand Plan Proponent

  25 Lev Inves% ents,LLC
   26
   27 B
          .
                  '    '
   28                    oudkouski
                                        t
                V V Cr


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                                       E X H IB IT 1

                                    (Liquidation Analysisq




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  L ev Investm ents,LLC

  Liquidation A nalvsis:
  A lbersProperty                                $ 3 000,0001
  Cash                                           $         0
  Coachella Property                             $ 2%500.0002
  TotalA ssets                                   $ 5,500,000


  Less:

  Secured Claim s:
         SensibleConsulting & M gmtLLC*              1,586,287
         M ing Zhu,LLC*                                286,292
         Los Angeles County Tax Colledor                58,204
         M aliya A yzenberg*                            35,000
         FR LLC*                                       195,622

  A dm inistrative Claim s:
          Chapter7 Trustee Feesand               $     150,000
          the Fees/Expenses ofthe
          Professionals Em ployed By
          the Trustee

          Brokercommissions(5%)and                     385,000
          sale closing costs forrealproperties

          ProfessionalsFees/Expenses             $     260,000
          lncurred During Chapter 1l

  Pre-petition Priority Tax Claim s:             $         800

  Balance A vailable to be Paid                  $ 2,542,795
  To Pre-petition G eneral
  Unsecured Creditors



          l Thisfigure assum esthatthe AlbersProperty issold atfairmarketvalue,which isestimated
  bytheDebtortobe$3,000,000.
         7 Thisfigure assumesthattheCoachella Property issuccessfully foreclosed on by the Debtor
  andsoldatfairmarketvalue,whichisestimatedbytheDebtortobe$2,500,000.

  *Disputed claim
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  s/o O F TH EIR CLA IM S W H IC H G ENER AL UN SEC UR ED C RED ITO R S O F T H E
  DEBTOR (HOLDERS OF CLASS 5a AND CLASS 5b ALLOW ED CLAIM S)W OULD
  RECEIVE OR RETAIN IN A CH. 7 LIQ UIDATION, BASED UPON ALLOW ED
  G ENEM L UNSECURED CLAIM S TOTALING $3,134,453 - $9,729,676 = 21-81t% .

  % O F T H EIR CLA IM S W H IC H G ENEM L UN SECU R ED CR ED ITO R S O F T H E
  DEBTOR (HOLDERS OF CLASS 5a ALLOW ED CLAIM SU EX C LUD IN G        .

  SUBORDINATED CLASS 5b ALLOW ED CLAIM S) W ILL RECEIVE OR RETAIN
  UNDER THE PLAN,BASED UPON AFLOW ED GENERAL UNSECURED CLAIMS
  TO TALING $334,453 - $6,929,676 = 37-1000/0.
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                                                    ProofsofClaim                                           ScheduledClaims                    Obj?        Maximum Al
                                                                                                                                                                    lowedCI.
                               claim Date Claim                                                        Sch.D        Sch.E         Sch.F
            Name                No.     Filed       Secured       Priori
                                                                       ty     Unsecured CJU/D (Secured)             (Priori
                                                                                                                          ty) (Unsecured)              Secured       Priority   l

Maria A enber                   9       8/6/2020     35,000.00                                                                                 Yes      35,000.00
LosAn elesCoun TaxColecto 3            6/25/2020     58.203.26                                         18.
                                                                                                         000.
                                                                                                            00                                          *,
                                                                                                                                                         203.26
FR,LLC                          5      7/18/2020    195,621.39                                U/D                                      Unk Yes         195,621.39
Min Zhou                        4       7/3/2020    286,291.67                               C/U/D          0.00                           Yes         286,291.67

Sensible Consulti & M mtInc     12     8/10/2020 1,586,286.14                                U/D     1,047,675.00                              Yes    1,* 6,286.14

FranchiseTax Board              1      6/12/2020                    8* .00       4,017.12                                0.00                                          800.00

CoachellaVineyard LuxuryRV
ParkLLC                         16     8/10/2020                              3,500,000.00                                                     Yes                              :
G&B Law,LLP                     6      7/28/2020                                 23,535.81                                             Unk

GA&TV Inc.                      15     8/10/2020                               500,000.00                                                      Yes
Greenda Ca italLLC                                                                                                               300,000.00
InternalRevenue Service                                                                                                  0.00
JeffNodd,Es .                                                                                 U                                        Unk

KevinModa                       11      8/7/2020                                13,314.40                                                      Yes
LandmarkLand,LLC*                                                                             U                                    50,000.00
LDlVentures,LLC*                                                                                                                2,800,000.00                                    :

Lisitsa Law,Inc.                7       8/4/2020                               139,266.89                                                      Yes
MGF Develo in ,Inc.                                                                                                                6,900.11

MichaelLeizerovitz              13     8/10/2020                              1,316,441.36                                                     Yes                              *

MichaelMasinovsk                10      8/7/2020                               661,200.00 U                                      228,860.00 Yes

Mike Kemel                      8       8/4/2020                                24,500.00                                                      Yes
RealPro ert Trustee,Inc.                                                                      D                                        Unk

Ruvin Fe enber                  14     8/10/2020                               430,000.00                                                      Yes                              '
The SandsLaw Grou ,APLC         2      6/12/2020                                10,500.01                                                      Yes

                      TOTAL:                       2,161,402.46     800.00    6,622,775.59           1,065,675.00        0.00 3,385,760.11            2,161,402.46     800.00 t
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                                   P R O O F O F S ERV IC E O F DO C U M E NT
    l Iam overthe age of18 and nota partyto this bankruptcy case oradversary proceeding. My business
    2 address is:10250 Constellation Boulevard,Sui
                                                 te 1700,LosAngeles,CA 90067
    3 A true andcorrectcopyoftheforegoingdocumententi
                                                    tled DEBTOR'S CHAPTER 11,SUBCHAPTER V
      PLAN DATED AUGUST 28,2020willbe servedorwasserved(a)onthejudge inchambersintheform
    4 andmannerrequired byLBR 5005-2(d);and(b)inthemannerstatedbelow:
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
    5 controlling GeneralOrders and LBR , the foregoing documentwillbe served by the coud via NEF and
         hyperlinkto the document.On August28,2020,Ichecked the CM/ECF docketforthis bankruptcy case
    6 oradversaryproceedingand determinedthatthe following personsare ontheElectronicMailNotice List
         to receive NEF transm ission atthe emailaddressesstated below:
    7
             *   Lisa D Angelo' Iangelo@ murchisonlaw.com,cthomas@ murchisonlaw.com
    8        *   Richard T Baum rickbaum@ hotmail.com,rickbaum@ ecf.inforuptcy.com
             .   KatherineBunker kate.bunker@ usdoj.gov
     9       @   John Burgee jburgee@ bandalaw.net
    10       .   carolineRenee Djang (TR) caroline.djang@ bbklaw.com,
                 clgo@ ecfcbis.comisansanee.wells@ bbklaw.comiwilma.escalante@ bbklaw.com
             .   James R Felton jfelton@ gblawllp.com ,nknadjian@ gblawllp.com
   11        .   David B Golubchik dbg@ lnbyb.com,stephanie@ lnbyb.com
   12        *   JulietY Oh jyo@ lnbrb.com,jyo@ lnbrbacom
             .   Thomas D sands thomas@ thesandslawgroup.com,thomas@thesandslawgroup.com
    13       .   MichaelShemtoub michael@ lexingtonlg.com
             .   David A Tilem davidtilem@tilemlaw.com , '
                 DavidTilem@ ecf.inforuptcy.com ijoanfidelson@tilemlaw.comiloanFidelson@ecf.inforuptc
   14            y.comiDianachau@ tilem law.com
             .   United StatesTrustee(SV) ustpregionl6.wh.ecf@ usdoj.gov
    15
         2. SERVED BY UNITED STATES MAIL:On August28,2020,Iserved the following persons and/or
    16 enti
          tiesatthe Iastknownaddressesinthisbankruptcycaseoradversaryproceedingbyplacing atrue
         and correctcopy thereofin a sealed envelope in the Uni
                                                              ted Statesm ail,firstclass,postage prepaid,and
    17 addressedasfollows.Listingthejudgehere consti
                                                   tutesa declarationthatmailingtothejudgewillbe
         completed no Iaterthan 24 hours afterthe documentisfiled.
    18
                                                                   Z Serviceinformationcontinuedon attachedpage
    19
         3. SERVED BY PERSONAL DELIVERY,OVERNIGHT MAIL,FACSIMILE TRANSMISSION OR
   20 EMAIL (state method foreach person orentitv served): Pursuantto F.R.CiV.P.5 and/orcontrolling LBR,
         onAugust28,2020,Iserved the following persons and/orentities by personaldelivery,overnightmail
   21 service,or(forthosewhoconsented inwritingto suchservicemethod),byfacsimiletransmissionand/or
      emailasfollows.Listingthejudge hereconstitutesa declarationthatpersonaldeliveryon,orovernight
   22 mailto,thejudgewillbecompletednoIaterthan24hoursaherthedocumentisfil     ed.
   23 Served byOverniqhtMail
         Hon.Victoria S.Kaufman
   24 UnitedStates BankruptcyCoud
         21041BurbankBoulevard,Sui
                                 te 354 /Courtroom 301
   25 Woodland Hills,CA 91367
   26 ldeclare underpenaltyofperjuryunderthe IawsoftheUnited StatesofAmericathatthe foregoing is
         true and correct.
   27     August28,2020                Stephanie Reichert                       /s/stephanie Reichert
   28     Date                         Typ'
                                          e Name                                 Signature

          Thisform i
                   s mandatory. lthasbeenapprovedforusebythe United States BankruptcyCourtforthe CentralDi
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